                                                  UNITED STATES DISTRICT COURT
                                                FOR THE DISTRICT OF MASSACHUSETTS



              CAPE LIFE BRAND COMPANY,
              INC.
                Plaintiff

                           v.                                      Civil Action No.: 1:21-cv-11256-IT

              CAPE LIFE GIFTS, INC.
                 Defendant

                                     DEFENDANT’S ASSENTED-TO MOTION TO
                                     ENLARGE TIME TO ANSWER COMPLAINT

            Defendant Cape Life Gifts, Inc. (“defendant”), moves, pursuant to Fed. R. Civ. P. 6(b)(1)

to enlarge the time for filing its Answer until Tuesday, September 7, 2021. As its grounds,

defendant states that its counsel, a solo practitioner, requires additional time to prepare an

Answer. Plaintiff’s counsel has assented to the filing of this motion.

            WHEREFORE, for good cause shown, defendant Cape Life Gifts, Inc.

respectfully requests that its motion to enlarge the time for filing its Answer until

Tuesday, September 7, 2021 be granted.

                                                           CAPE LIFE GIFTS, INC.
                                                           Defendant

                                                           By its attorney,

                                                            /s/ Lindsey M. Straus /s/
                                                           Lindsey M. Straus
                                                           BBO # 554181
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                                 CERTIFICATE OF SERVICE

        I, Lindsey M. Straus, hereby certify that this document, filed through the ECF System,
will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) on August 31, 2021.
                                            /s/ Lindsey M. Straus /s/
                                            Lindsey M. Straus
